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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                      OXFORD DIVISION




     UNITED STATES OF AMERICA

v.                                                         CRIMINAL NO. 3:21cr107-NBB-RP-3

     GILBERT MCTHUNEL



                                   ORDER SUBSTITUTING COUNSEL

            The Federal Public Defender has moved for an order substituting counsel in the above-

     styled and numbered cause due to a potential conflict of interest. The Office of the Federal Public

     Defender contacted Paul A. Chiniche November 9, 2021, who agreed to be appointed as counsel

     to represent this defendant in his cause to eliminate any possibility of a conflict of interest and

     Paul A. Chiniche agreed to be substituted as counsel for the defendant.

            Therefore, IT IS HEREBY ORDERED AND ADJUDGED that:

            The Office of the Federal Public Defender is hereby released from the obligation of the

     representation of this defendant and any other responsibilities concerning the above-styled and

     numbered cause and that Paul A. Chiniche hereby substituted as counsel of record for the

     defendant in this cause.

            IT IS SO ORDERED this the 9th day of November, 2021.



                                           /s/ Jane M. Virden
                                           UNITED STATES MAGISTRATE JUDGE
